
349 So.2d 1026 (1977)
Sybil SHEPARD, Plaintiff-Appellant,
v.
James E. SHEPARD, Defendant-Appellee.
No. 6297.
Court of Appeal of Louisiana, Third Circuit.
September 8, 1977.
*1027 Arthur I. Robison of Allen, Gooch &amp; Bourgeois, Lafayette, for plaintiff-appellant.
Olivier &amp; Brinkhaus by John L. Olivier, Sunset, for defendant-appellee.
Before CULPEPPER, GUIDRY and FORET, JJ.
GUIDRY, Judge.

MOTION TO REMAND
The appellee, James E. Shepard, moves to remand these consolidated suits to the trial court to enable him to traverse the right of the appellant, Sybil Shepard, to proceed with her appeal in forma pauperis. The motion is unopposed. We remand.
The record of this appeal has not yet been lodged with this court.
Judgment was rendered in these consolidated cross-suits for divorce on June 10, 1977. On July 5, 1977, the appellant, Sybil Shepard, timely moved for an appeal in forma pauperis, which request was granted by the trial court that same date. The appellant's original suit was not filed in forma pauperis, nor had the appellant previously sought a pauper order prior to the time she moved for her appeal.
The jurisprudence is well settled that where a devolutive appeal has been taken in forma pauperis without allowing the appellee sufficient time in which to traverse the affidavits of poverty, the appellate court may, upon timely application therefor, remand the cause to give the appellee the opportunity to do so. Oldham v. Hoover, 140 So.2d 417 (La.App. 1st Cir. 1972).
Under the facts of this case, the appellee has had no opportunity to traverse in the district court, and thus is clearly entitled to an opportunity to do so. Ross v. Hatchette, 247 So.2d 399 (La.App. 3rd Cir. 1971); Darby v. Travelers Insurance Company, 272 So.2d 798 (La.App. 3rd Cir. 1973).
The appeal is hereby remanded to the trial court for the purpose of allowing the appellee to traverse the appellant's right to proceed with her appeal in forma pauperis.
APPEAL REMANDED.
